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\ ‘AO 91 (Rev. 5/85} Criminal Complaint _ ee

United States District Couat

Western DISTRICT OF Texas

UNITED STATES OF AMERICA
V.

Elton C. Johns

CRIMINAL COMPLAINT

CASE NUMBER: SA-08931M

(Name and Address of Defendant)

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about October 19, 2008 in Bexar county, in the

Western District of Texas defendants(s} did, (Track Statutory Language of Offense)

Theft or receipt of stolen mail matter generally

in violation of Title 18 United States Code, Section(s) 1708
| further state that lam a(n) U.S. Postal Inspector and that this complaint is based on .the following
facts: Official Title

See Attachment

Continued on the attached sheet and made a part hereof: XX] Yes [_]No

Penalties: 5 years imprisonment, 3 years supervised release, $250 fine & $100 5

Na
moplaingnt ')

10/20/08 at San Antonio, Texas

Sworn to before me and subscribed in my presence,

Date City of State

U.S. Magistrate Judge Pamela Mathy

Name and Title of Judicial Officer Signature of Judicial Officer \
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AFFIDAVIT IN SUPPORT OF COMPLAINT AND
ARREST WARRANT

|, Y.A. Martinez, being duly sworn, do hereby depose and state:

1. | have been a United States Postal Inspector for approximately 7 years. | am
currently assigned to the Houston Division Office in San Antonio, Texas. As
part of my duties | investigate robberies, burglaries, assaults, theft of mail and
identity theft, to include the offense of theft or possession of stolen mail in
violation of Title 18, United States Code, Section 1708. | have participated in
investigations, the service of arrest and search warrants, the interviewing of
suspects, witnesses, informants and other persons having knowledge of
violations of the Federal Criminal Code.

2. Based on this affiant’s experience, those criminals. who steal mail, rifle through
the stolen mail in order to obtain checks, money orders, credit cards, and/or
account numbers.

3. The information contained in this affidavit is based on my personal
knowledge and observations during the course of this investigation; on
information conveyed to me by other law enforcement officials; and on my
review of documents and other physical evidence obtained during this
investigation. Because this affidavit is being submitted for the limited purpose
of securing a complaint, | have not included each and every fact known to me
concerning this investigation. | have set forth on the facts I believe establish a
violation of Federal law.

3. This affidavit contains information necessary to support probable cause for a

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criminal complaint charging ELTON CONRAD JOHNS with a violation of Title
18, United States Code, Section 1708, (Theft or receipt of stolen mail matter).

. On or about October 19, 2008, at approximately 4:50 pm, a call was received
by Postal Inspectors from Officer Aguero of the San Antonio Police Department
(SAPD). Officer Aguero advised he and other SAPD officers were in custody of
subjects who were in possession of stolen mail and over two hundred stolen
checks. Officer Aguero was contacted by Hotel Marquis front desk supervisor,
Raymond Silva, regarding the stolen checks. Silva advised Officer Aguero that
ELTON CONRAD JOHNS rented rooms 415 and 419 for the evenings of
October 17-18, 2008. Housekeeping cleaned both rooms and found a
substantial amount of stolen mail and checks under the mattress in room 415

and reported it to Silva.

. Silva informed SAPD that JOHNS also rented rooms 513 and 520 for October

18-19, 2008. When SAPD officers approached JOHNS and other individuals
staying in the rooms, they placed them under arrest without incident.

. A search of their possessions incident to arrest was conducted. JOHNS signed
a consent to search form for all four rooms which he rented while staying at the
Hotel Marquis. The consent search of hotel room 513 resulted in the discovery
of a large FedEx envelope that contained mail addressed to two different
individuals other than JOHNS.

. Further investigation of the materials obtained from hotel room 415 resulted in
the discovery of stamped envelopes addressed to other persons and 200-300

checks stolen from the mail. Several of these checks had already been

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“washed” and/or altered. Two of these “washed” and/or altered checks were
made payable to ELTON C. JOHNS in the amounts of $240.96 and $306.00,
respectively.

8. A search of JOHNS’ person, incident to arrest revealed a “washed” and/or
altered money order in his possession.

9. The vehicle being driven by ELTON JOHNS was searched after consent to
search the vehicle was given by the owner. JOHNS admitted that the black
rolling bag was his and it was found to be stuffed with mail addressed to
individuals and businesses other than him.

10. Based on the foregoing, | believe that probable cause exists to believe that
ELTON C. JOHNS has committed the offense of theft of U.S. mail, in violation
of Title 18, United States Code, Section 1708.

11.1 swear the information contained in this affidavit is true to the best of my

knowledge and belief.

. Postal Inspector

SWORN to and subscribed before me this gO day of October, 2008.

Nyt tle —

UNITED STATES MAGISTRATE JUDGE

